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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    Semen Petrashov,                                  Case No. 15-cv-3061 (WMW/SER)

                       Plaintiff,

          v.                                  ORDER ADOPTING REPORT AND
                                              RECOMMENDATION AS MODIFIED
    Alina Health Headquarters,

                       Defendants.


         This matter is before the Court on the June 14, 2016 Report and Recommendation

(R&R) of United States Magistrate Judge Steven E. Rau. (Dkt. 37.) Magistrate Judge

Rau recommended that this Court dismiss this case for lack of subject-matter jurisdiction,

and, in the alternative, for failure to timely serve Defendant. No objections to the R&R

have been filed in the time period permitted.1

         The Court agrees with Magistrate Judge Rau’s conclusion that it lacks subject-

matter jurisdiction over the case and thus must dismiss it without prejudice. Therefore,

the Court need not consider whether Plaintiff failed to timely serve Defendant.




1
  Oleg Petrashov, who appears to be the Plaintiff’s son, filed a letter on June 20, 2016, six
days after Magistrate Judge Rau issued the R&R. But Oleg Petrashov has not entered an
appearance on Plaintiff’s behalf and nothing in the record suggests he is a licensed
attorney. Therefore, he is without authority to speak on Plaintiff’s behalf in this case.
See 28 U.S.C. § 1654 (stating that parties may pursue cases on their own behalf or
through counsel); Jones ex rel. Jones v. Corr. Med. Servs., Inc., 401 F.3d 950, 952 (8th
Cir. 2005) (“[A] . . . non-attorney may not engage in the practice of law on behalf of
others.”).
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       Based on the Report and Recommendation of the magistrate judge and all the files,

records and proceedings herein, IT IS HEREBY ORDERED:

       1.     The magistrate judge’s June 14, 2016 Report and Recommendation, (Dkt.

37), is ADOPTED only to the extent the R&R recommends dismissing the case for lack

of subject-matter jurisdiction;

       2.     Plaintiff’s   Complaint,   (Dkt.   1),   is   DISMISSED       WITHOUT

PREJUDICE.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: August 11, 2016                       s/Wilhelmina M. Wright
                                             Wilhelmina M. Wright
                                             United States District Judge
